            Case 1:15-cv-00894-WHP-JLC Document 75-26 Filed 03/28/15 Page 1 of 22

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         S242                       AUTOMATED SECURITIES PROCESSING SYSTEM KU.   01/05/15                      10:59
                                      HISTORY BASIC DATA INQUIRY SCREEN DATA FROM ARCHIVE

         ASP TRN       1131060112820              DTO ID                         LAŠT MOOINIED   DATE


        AGCOUNT 298307-A              DMS RBCT TAX EXEMPT CLIENT           ACCOUNT
        GUSIP 98387%203               XÚMANII
        TRANSACTION TVPÉ              RECEIVE FREE             INSTRUCTION SOURCE UNkNOWN             COND   CANCL

        TRADING        INST     00000000          BRONN BROTHERS HAR                            VIA   CODE
        CL;EARING INST                  10                                                        STATUS
        SOUROE REG                    SOURCELOC                  FINAL REG   DTC       FINAL LOG
        TRADE DATE 04/17/13            SETL DATE 04/17/13        PØST DATÉ 07/17/13

        UNITS                        10,000,000                 FINAL    MONEY
        UNDenLYINGCUSIP                                         OVERŠ/SHORT                     FED FUNDS NO
        PRINCIPAL                                               INCOME                            SEC
        COMMISSION                                            STATE      TAX                    BK CHG
                                                        PATH #




      4-0    §                  1      Sess-1        160.254.155.24                  CTCPSO38                1/1




 Name: xeccdck          -   Date:    01/05/2015      Time:   10:59:05    AM


Confidential Treatment Requested by BNY Mellon                                                           BNYM_CAL_072670



                                                                                                                           A0823
           Case 1:15-cv-00894-WHP-JLC Document 75-26 Filed 03/28/15 Page 2 of 22


   Page:     1   Document    Name: Untitled




       S242                       AUTOMATED SECURITIES PROCESSING SYSTEM AKU   01/05/15                         09:$6
                                    HISTORY BASIC DATA INQUIRY SCREEN DATA FROM ARCHIVE

       ASP TRN       l i31220136856             DTC ID                           LAST MODIFIED    DATE

       ACCOUNT 2983d7-A              DMS RBCT TAX EXEMPT CLIENT ACCOUNT
       CUSIP  98387X203              XÚMANII
       TRANSACTION        TÝPE        RECEIVE    FREE         INSTRUCTION        SOURCE UNKNOWN        COND   FINAL

       TRADING     HNST      00000000           LEK SECURIEITES        CO                        VIA CODE DTC
       CLEARING INST                  512                                                          STATUS REC
       SOURCE REG                    SOURCE LOC                  FINAL REG DTC          FINAL    LOC   DTC
       TRADE DATE 05/02/13            SETL DATE 05/03/13         POST DATE 05/03/13

       UNITS                       17,050,000                  FINAL MONEY
       UNDERLYING CUSIP                                         OVERS/SHORT                      FED FUNDS NO
       PRINCIPAL                                                INCOME                             SEC
       COMMISSION                                              STATE TAX                         BK CHG
                                                         PATH #
       VER                       050213          REC                    050313




     4-©     §               1        Sess-1        160.254.155.24                    CTCPSO38                1/1




 Name: xeccdek        -   Date:    01/05/2015       Time:    9:36:54    AM


Confidential Treatment Requestedby BNYMellon                                                              BNYM.CAL_072674


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          Case 1:15-cv-00894-WHP-JLC Document 75-26 Filed 03/28/15 Page 3 of 22


                                                      5-2-13     PR Newswire
Wire: PR Newswire (PRN) Date: May 2 2013       16:30:05
Xumanii"    (Xumanii   or the "company") (OTCQB and Pinksheets:                                 xuII)      Proudly     Announces
the Acquisition      of a Master License to a
********************************************************************************
 BN 05/02 16:30   *XUMANII"  (XUMANII  OR "COMPANY")   (OTCQB, PINKSHEETS:  XUII)
********************************************************************************
    xumanii"       (Xumanii    or the "company")                (OTCQB and Pinksheets:         XUII)      Proudly
 Announces       the Acquisition     of a Master                License    to a Cutting-edge         Intellectual
 Property       Portfolio    in the Multi  Billion                 Dollar    Live Stream Marketplace            that
        will    give the company a significant                     Advantage     Over Existing       Platform
PR Newswire

CARSON CITY,         Nev. , May 2, 2013
CARSON      CITY, Nev. , May 2, 2013 /PRNewswi re/                      --  Xumanii"      (the     "company")
(OTCQB:       XUII),      a company that          has developed proprietary               technology           capable of
broadcasting           live   events       in HD wirelessly        from multiple          cameras at events               for
an extremely           low production           cost, announces today that the company has
acquired        the master        license      to a cutting-edge          IP portfolio         that     will
significantly            enhance the Company's current                 platform      technology.         The Master
License       agreement       allows       Xumanii    access to technology             that    can significantly
enhance the bitrate               at which video        is uploaded         and broadcast          through         its
platform.          "The rapidly           expanding,    multi    billion       dollar     live stream market                is
highly      competitive         and technologically           advanced        so acquiring         this      intellectual
property       was key to maintaining                and boosting       our edge over the competition,"
said company President                 Alex Frigon.       He went on to say that,                "The average
American        family      watches      over 5 hours a day of video                content.       currently,          the
online      video market is a one-way push model that                          is grossly        inefficient.            We
believe       that     we can combine streaming              video and e-commerce              on our platform              by
introducing          products       that     accompany    content.      Adding      to that      fact    is that our
platform        can be viewed globally               so our reach can be enhanced by a huge
multiplier."           The XUMANII         team and I look forward             to announcing the upcoming
lineup      of talent        that    will     be able to be viewed "live'                on our platform.              Please
log in regularly             or sign up on our website               at www.xumanii.com              to receive
notices       of upcoming live             events.
About     XUMANIIm


Xumanii"     is an all-inclusive            online    platform      that    provides      users the
opportunity       to create      a "Live     Broadcast"       in true      High Definition.         Xumanii"'s
new, patent       pending technology          integrates        proprietary       hardware and software
wirelessly,       streaming      live    feeds from multiple            cameras in High Definition
Audio/visual       with   capabilities        of up to 10 Megabites              per seconds.       This
technology      integrated       Hardware     and Software         allows     for the highest       quality
"live    broadcast       without      the exorbitant         expenditure        of traditional      methods
currently      used in the marketplace             via the respective            Artist's      channel on
Xumanii.com.         The company's technology              can also be provided             to each Artist
allowing     them to broadcast           any event      in which they feel that they would like
their    fans to be a part of.
Safe   Harbor Statement
certain     statements         in this     news release may contain           forward-looking
information       within       the meaning of Rule 175 under the Securities                     Act of 1933
and Rule 3b-6 under the Securities                      Exchange Act of 1934, and are subject                to
the safe harbor created                 by those     rules. All statements,         other    than statements
of fact,      included       in this      release,      including,    without    limitation,       statements
regarding       potential        future    plans and objectives          of the company, are
forward-looking           statements       that    involve     risks   and uncertainties.        There can be
no assurance that            such statements          will    prove to be accurate        and actual      results
and future       events      could differ        materially       from those    anticipated      in such
                                                                Page 1




                                                                                                                                   A0825
           Case 1:15-cv-00894-WHP-JLC Document 75-26 Filed 03/28/15 Page 4 of 22


                                          5-2-13   PR Newswire
statements.     The company cautions      that   these  forward-looking     statements   are
further   qualified   by other   factors.      The company undertakes      no obligation    to
publicly    update  or revise   any statements       in this   release,   whether   as a result
of new information,      future  events     or otherwise.
XUII  Investor   Relations
Maplehurst
Tel:  917.838.3991

SOURCE Xumanii(TM)

Website:    http://www.xumanii.com
-0-    May/02/2013   20:30 GMT


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              Case 1:15-cv-00894-WHP-JLC Document 75-26 Filed 03/28/15 Page 5 of 22


                                                                              5-13-13
Wire:         PR    Newswire             (PRN)     Date:     May 13 2013    16:30:17
xumanii"            is Proud             to    Announce      that   the company will        be Broadcasting   Grammy Nominated
Hip-Hop            Superstar             Pusha-T        LIVE   in True

  xumanii"               is    Proud          to   Announce         that    the  company will   be Broadcasting  Grammy
Nominated             Hip-Hop superstar                      Pusha-T       LIVE  in True HD" tomorrow    May 14th at 10pm
EDT     for        the MTV JAMS "The                    Life       is   So Exciting"    Tour Free of charge to viewers
                                                                        Worldwide

PR Newswire

CARSON         CITY,          Nev.   ,    May 13,           2013

CARSON         CITY,          Nev., May 13, 2013 /PRNewswire/        --     Xumanii"    (the    "company")
(OTCQB         and Pinksheets:                     xuII),      a company
                                                              that   has developed proprietary
technology      capable      of broadcasting         live     events      in True HD" wirelessly         from
multiple     cameras at events          creating       high quality          content    for drastically      lower
production      cost announces        today     that     they will        host PUSHA-T       LIVE  on their
proprietary       live    streaming     broadcast        platform       located      at www.xumanii.com.
   xumanii and Pusha-T           recently     signed       a 2-year       Agreement,      which includes     four
concert     events     over the next two years.

company Founder                  and Mr. Alex Frigon stated,
                                              CEO                    "I am overjoyed      at the
opportunity               to    bring
                                viewers     from around the world a chance to watch Pusha-T
Live    on our platform.           Together     with  the Artist     we have decided      to give this
concert       to the fans for free          so that both the company and Pusha-T             can bring
the MTV Jams tour           to the fans immediately.           This    is our second high profile
event     this    year and I'm looking          forward to showing the world what xumanii is
made of." He went on to say that                  "The xumanii    platform     is capable    of streaming
live    in HD at bit        rates    of up to 10mbps because of the combination                of our
software        and hardware      that  we have worked tirelessly            to create.   This   is
significantly         greater     than the standard       bit  rate    stream    of 1.5 to 2.5mpbs that
you will        get from our competitors."

Although    Terrence    "Pusha-T"     Thornton   may be most known for his part in the
highly    successful    rap group     "The clipse"    he has been on many chart      topping
records since signing        with   Kanye West's GOOD Music     label In September       2010. In
2013 he was nominated        for two Grammy Awards for "Best Rap song' and "Best Rap
Performance"      for the blockbuster        "Mercy". He is currently    on a thirty     city
tour   with  rapper Fabolous      headlining     the MTV Jams "The Life    is so Exciting"
Tour. Pusha-T      will  be featuring       songs from his upcoming   album titled      "My Name
is my Name" which is slated           for release    July 16, 2013.
About         XUMANII"

xumanii"            is
                   an all-inclusive         online     platform      that    provides     users the
opportunity        to create      a "Live     Broadcast"       in true High Definition.             Xumanii"'s
new, patent        pending technology          integrates        proprietary      hardware and software
wirelessly,        streaming      live    feeds from multiple            cameras in High Definition
Audio/Visual         with   capabilities       of up to 10 Megabites             per seconds.       This
technology       integrated       Hardware     and Software         allows for the highest          quality
"live     broadcast       without      the exorbitant         expenditure       of traditional      methods
currently       used in the marketplace             via the respective           Artist's      channel on
xumanii.com. The company's technology can also be provided to each Artist
allowing      them to broadcast           any event in which they feel that they would like
their     fans to be a part of.
safe Harbor    statement
certain  statements      in          this   news release     may contain   forward-looking
information              within   the meaning of Rule 175 under the securities             Act of 1933
and Rule            3b-6 under the securities         Exchange Act of 1934, and are subject             to
the safe            harbor created       by those  rules. All statements,        other than statements
of fact,            included    in this release,      including,   without    limitation,     statements
                                                            Page 1




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         Case 1:15-cv-00894-WHP-JLC Document 75-26 Filed 03/28/15 Page 6 of 22


                                                     5-13-13
regarding      potential       future  plans and objectives            of the company, are
forward-looking          statements    that   involve      risks and uncertainties.        There can be
no assurance that           such statements      will     prove to be accurate       and actual    results
and future      events      could differ     materially        from those anticipated       in such
statements.       The company cautions          that    these     forward-looking    statements    are
further     qualified       by other   factors.      The company undertakes        no obligation      to
publicly     update      or revise    any statements         in this     release, whether     as a result
of new information,            future  events     or otherwise.
XUII  Investor   Relations
Maplehurst
Tel:  917.838.3991

SOURCE Xumanii(TM)

Websi te:  http:   //www. xumani i . com
-0-  May/13/2013      20: 30   GMT


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           Case 1:15-cv-00894-WHP-JLC Document 75-26 Filed 03/28/15 Page 7 of 22



Wire:      PR Newswire         (PRN)   Date:  May 15 2051315-1163:30: 8
XUMANII        is Proud       to  Announce   That Former COO of G O.O.D. Music                        and Manager         of
Artists        such as      Hip-Hop    Legend Kanye West, Mr.

XUMANII        is   Proud     to    Announce     That   Former COO of G O.O.D. Music and Manager of
     Artists        such as        Hip-Hop     Legend   Kan e West, Mr. John Monopoly, has Joined
                                               Forces   wit   the compan
PR Newswire

CARSON CITY,          Nev.,        May 15,     2013

CARSON CITY,          Nev., May 15, 2013 /PRNewswire/                 --  Xamanii"     ("Xumanii"       or the
"company")          (OTCQB:  XUII),     a company that         has developed        proprietary       technology
capable of      broadcasting         live    concerts      and events        in True HD wirelessly          from
multiple      cameras at events           for an extremely          low p-oduction        cost, announces
today    that   it     has ap ointed        John "Monopoly'         Johnson, one of the most
successful      and well-      nown hip-hop         talent     scouts     and Artist      Manager. Though
most in the industry           know him for the ultra               succe;sful      career     launch    and
co-management          of superstar       Entertainer       Kanye West from 1991 to 2008, he has
also served on management teams as well                      as a key A&R for talents              such as Busta
Rhymes, Missy Elliott,              Mobb Deep and Legendary              Hip-Hop    Producer      NO ID.      Mr.
Monopoly      was VP of Producer            Management      at violato-        Records, Director         of A&R at
Jive    Records, and COO of Kanye West's label                      G.O.0,D. Music as well as Urban
Marketing      Director      of the new popular social                media platform        Pheed.      While   at
Pheed John Monopoly           played an integral            part    of the recent        surge in popularity
by securing        Artists    such as Nas, Pharrell,               2chains,     Pusha-T,     Flo Rida, Game
and sean "P Diddy"           combs.       Pheed quickly        joined     tie   Top 20 out of all          Free
Apps, reaching          #1 in social        networking      above Twit:er         and Facebook due to the
overwhelming        support    and endorsements            of some of :he most well known names in
Popular     Music today.

"John's  reach,       business  acumen, reputation      and ta ent is of the highest
caliber in the        Music Industry    and it is with great    pleasure  that  we welcome
him onboard.        He has a proven     track    record of suc ess and his knowledge    of the
technological       integration     in Music and Entertainm    nt is profound,"   said
Xumanii     founder    and CEO Alexandre      Frigon.
About      XUMANII

Xumanii"       ("XUII"       or the "company")              is an all-inclusive            online      platform       that
provides       users the opportunity                to create        a "Live         roadcast"     in true High
Definition.           Xumanii's"        new, patent           pending     techn      logy integrates          proprietary
hardware       and software         wirelessly,           streaming       live     feeds from multiple             cameras
in High Definition               Audio/visual        with      capabilities         of up to 10 megabites               per
seconds.        This     technology         integrated         Hardware       and|software       allows for the
highest       quality      "live     broadcast"        without       the exor itant         expenditure          of
traditional          methods      currently       used in the marketp               ace via the respective
Artist's       channel on xumanii.com.                   The company's           technology      can also be
provided       to each Artist           allowing        them to broadcast              any event     in which they
feel     that    they would like            their     fans to be a part of.
Safe      Harbor     statement
certain     statements         in this       news release may conta n forward-looking
information       within       the meaning of Rule 175 under                    he securities      Act of 1933
and Rule 3b-6 under the securities                       Exchange Act o 1934, and are subject                   to
the safe harbor created                 by those      rules.    All    state    ents, other     than statements
of fact,      included       in this        release,     including,       wit   out limitation,       statements
regarding       potential        future      plans and objectives             o the company, are
forward-looking           statements         that   involve     risks     and uncertainties.        There can be
no assurance that such statements                       will   prove to be accurate          and actual      results
and future       events      could      differ    materially        from those anticipated          in such
statements.       The company cautions                that these forwa-d-looking             statements      are
                                                                Page 1




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                                                          5-15-13
further     qualified         by other    factors.   The company           undertakes    no obligation    to
publicly     update      or    revise    any statements    in this          release,    whether   as a result
of    new information,          future    events   or otherwise.
xUII  Investor   Relations
Maplehurst
Tel:  917.838.3991

SOURCE Xumanii        (TM)

-0-    May/15/2013       20:30    GMT


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                                                                     5-16-13
Wire:      PR Newswire               (PRN)    Date:    May 16 2013    8:22:16
xumanii"      is Proud to                  Announce    that the company will         be Broadcasting          International
Music      superstar  AKON saturday                    May 25th,  2013

         xumanii"           is   Proud
                                     Announce tothat  the company will     be Broadcasting
    International               superstar
                                 Music        AKON Saturday    May 25th,   2013 at the grand
 opening         of Akon's new night     club "Jewel"    at the Melia    caribe Tropical   Hotel
                          and Resort   in Punta cana, Dominican Republic
PR Newswire

CARsON         CITY,   Nev.      ,    May 16 2013

CARSON    CITY, Nev., May 16 2013 /PRNewswire/               --   Xumanii"   ("Xumanii"   or the
"company")      (OTCQB: XUII),      a company that has developed           proprietary    technology
capable of broadcasting          live    concerts   and events      in True HD" wirelessly        from
multiple     cameras for an extremely           low production      cost, today announces that
the company has signed         International       Music   superstar     Akon.     This event   is
scheduled     to be Broadcasted        Live on saturday         May 25^th 2013 exclusively        on
xumanii.com.

Aliaune   "Akon" Thiam is one of the most recognizable                     Artists    in music today
across all genres of pop culture.              Since his first         album debuted      in 2004 Akon
has sold more than eleven          (11) million       albums worldwide.           His achievements      in
music include    an astounding         forty   (40) singles       that    have been featured        in the
Billboard   Hot 100 List.         He is the first        solo artist       to hold both the number
one and two spots       simultaneously        on the Billboard         Hot 100 charts       twice.    Akon
has had four songs certified             as 3x platinum,       three     songs certified       as 2x
platinum,   more than ten songs certified               as 1x platinum        and more than ten songs
certified   as gold in digital           sales. Akon has sung songs in other                languages
including   spanish and Hindi.          The Guinness      Book of World Records           listed    him as
the #1 selling    artists      for master      ringtones     in the world.

Akon is accredited    the world record of having the highest    number of guest
appearances   in songs with over three  hundred (300) collaborating    with  Artists
such as Michael    Jackson, Lady Gaga, Quincy Jones, Eminem and Whitney     Houston
to name a few.

Akon    took his successes       as a renowned Artist       and Producer     to the next level
when he started        his record   labels  Konvict     Musik and KonLive       Distribution.
Under his guidance          he has signed artists      such as Flo-Rida,       T-Pain    and one of
music's     biggest    stars   Lady Gaga producing      and collaborating       on many of his
Artists     major hits.       His business  sense is well      noted    repeatedly     ranking     in
the Forbes      "Celebrity     100" and "Hip-Hop     cash Kings" List.         His Global      Brand
reaches far beyond music with multiple              successful    clothing     Lines   and Internet
businesses.

Akon      is    currently            the     #18^th   most   liked     person   on Facebook   with     over    44000000
likes.

company Founder and CEO Alexandre       Frigon    states,   "We are pleased    to have come
to an agreement   with   Akon, this  amazing opportunity       for xumanii and music fans
around the world.      The Live Broadcast    will    take place during   the grand opening
of Akon's new night     club 'Jewel' at the Melia caribe Tropical          Hotel  and Resort
in Punta Cana Dominican     Republic  next    saturday    May 25^th."
About      XUMANII

xumanii"    ("xuII"   or the "company")        is an all-inclusive         online     platform       that
provides    users the opportunity        to create      a "Live    Broadcast"      in true High
Definition.       Xumanii's"    new, patent      pending    technology     integrates        proprietary
hardware and software        wirelessly,      streaming     live feeds from multiple             cameras
in High Definition       Audio/visual      with capabilities        of up to 10 megabites              per
                                                                      Page 1




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                                                          5-16-13
seconds.        This     technology        integrated       Hardware  and software      allows for the
highest       quality      "live    broadcast"        without    the exorbitant     expenditure    of
traditional          methods     currently       used in the marketplace         via the respective
Artist's       channel on Xumanii.com.                  The company's    technology     can also be
provided       to each Artist          allowing       them to broadcast       any event    in which they
feel     that    they would like           their    fans to be a part of.
Safe      Harbor    statement

certain       statements       in this     news release        may contain        forward-looking
information         within     the meaning of Rule 175 under the securities                         Act of 1933
and Rule     3b-6     under the securities             Exchange Act of 1934, and are subject                     to
the safe     harbor created             by those    rules.     All    statements,       other    than statements
of fact,      included       in this      release,     including,        without     limitation,       statements
regarding       potential        future    plans and objectives             of the company, are
forward-looking           statements       that   involve      risks and uncertainties.              There can be
no assurance        that     such statements         will     prove to be accurate            and actual      results
and future       events      could differ        materially        from those anticipated            in such
statements.        The company cautions             that    these     forward-looking         statements      are
further     qualified        by other      factors.      The company undertakes              no obligation       to
publicly     update       or revise       any statements         in this      release,     whether     as a result
of new information,              future    events     or otherwise.
XUII  Investor   Relations
Maplehurst
Tel:  917.838.3991

SOURCE Xumanii(TM)

Website:   http://xumanii.com
-0-  May/16/2013     12:22 GMT


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                                                         5-21-13-3
Wire:     PR Newswire      Date:  May 21 2013
                                (PRN)              9:00:05
xumanii Announces  Completion    and Total   Integration                     of   its   HTTP    Dynamic     Stream    (HDS)
and HTTP Live Streaming    (HLS)  Communication

xumanii         Announces     Completion    and Total   Integration     of its HTTP Dynamic Stream
        (HDS)     and    HTTP  Live Streaming     (HLS)   Communication     Protocols,  Allowing
        Worldwide        Smart Phone and Mobile       Device Accessibility       to the Company's
                                    Exclusive   Live Broadcast      Content

PR Newswire

CARSON CITY,            Nev., May 21, 2013
CARSON      CITY,       Nev., May 21, 2013 /PRNewswire/         --    Xumanii"     ("Xumanii"    or the
"Company")          (OTCQB:      XUII)  Pink:
                                          (OTC    XUII),     a company that          has developed
proprietary          technology  that enables     the user to wirelessly              Broadcast    Concerts
and Events          Live in True HDA". This       unique combination            of proprietary      hardware
and software       allows all camera feeds to stream directly                    to any computer       or
laptop     with  the xumanii     software     installed.        The Company's platform           enables
 Broadcasters      to produce    live   streaming      events      online    for an extremely       low
production      cost while    expanding     on the potential            viewership     due to the use of
the Internet       as opposed to tradition          television.

The Company     today    announces that      it has significantly         expanded its       platform
capabilities      by successfully      integrating       additional     components    within
xumanii's    proprietary      software    that    will   now allow    content    to be broadcasted
Live over    smart phone and mobile devices              such as tablets.       After  the recent
successful     beta testing      at last    weeks presentation        of Grammy Nominated           Hip-Hop
Star "Pusha-T"       the Company has decided           to showcase this       new capability        at the
highly  anticipated       Performance     from Musical       Icon   "Akon" so that     the Company
can expand it's             viewership.

The  Company's Live Concert         Events    can be viewed from any smartphone  that  uses
the  iOS^" or Android^"      platform      directly  from the website once a viewer   has
logged in.    The software      allows for the maximum screen size for each device
and is still   streamed    in High Definition.

The Company's Founder           and CEO Mr. Alexandre         Frigon   states     "This is a huge
milestone     for xumanii because smartphone's              are clearly      the future.      We decided
early in the development            stage the ability       to broadcast       Live over smart phone
and mobile devices          was key since there       are over one billion          smartphones      are in
use today.       Our strategy       was to create     a more complete        software    so that
xumanii viewers          can bypass the need for an "App".             We are very      pleased    to
announce    that     this   Saturday    May 25^th we will         be showcasing our xumanii Mobile
X-Player"     for our Live Broadcast         of Akon in Punta Cana (Dominican               Republic)    so
Akon fans and xumanii           can now watch this       exciting     event    and all future     xumanii
live   events    virtually      anywhere   in the world on virtually            any platform."
About     XUMANII

xumanii"     ("xUII"       or the "Company") is an all-inclusive                     online     platform      that
provides     users the opportunity                to create      a "Live     Broadcast"     in true High
Definition.         Xumanii's^"         new, patent         pending    technology     integrates        proprietary
hardware and software             wirelessly,           streaming    live feeds from multiple              cameras
in High Definition             Audio/Visual        with capabilities          of up to 10 megabites             per
seconds.       This    technology         integrated        Hardware     and Software      allows for the
highest     quality      "live     broadcast"        without     the exorbitant       expenditure        of
traditional        methods      currently       used in the marketplace            via the respective
Artist's     Channel       on xumanii.com.              The Company's      technology      can also be
provided     to each Artist           allowing        them to broadcast         any event     in which they
feel that they would like                 their     fans to be a part of.
Safe Harbor          statement
                                                           Page 1




                                                                                                                              A0833
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                                                          5-21-13-3
certain     statements         in this     news release may contain                forward-looking
information        within      the meaning of Rule 175 under the securities                          Act of 1933
and Rule 3b-6 under the Securities                      Exchange       Act of 1934, and are subject               to
the safe harbor           created       by those     rules.     All    statements,       other    than statements
of fact,      included       in this      release,      including,        without     limitation,       statements
regarding       potential        future    plans and objectives              of the company, are
forward-looking           statements       that    involve      risks     and uncertainties.          There can be
no assurance that            such statements           will    prove to be accurate            and actual      results
and future       events      could differ        materially         from those anticipated            in such
statements.        The company cautions              that    these     forward-looking         statements      are
further     qualified        by other      factors.       The company undertakes              no obligation       to
publicly      update      or re.vise any statements               in this      release,     whether     as a result
of new information,              future    events      or otherwise.
xuII  Investor   Relations
Maplehurst
Tel:  917.838.3991

SOURCE Xumanii(TM)

-0-   May/21/2013       13:00    GMT


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                                                                      5-24-13
Wire:     PR Newswire              (PRN)     Date:        May 24 2013   9:11:19
Xumanii"        Announces          that      it        has Entered into Partnership           Discussions      with     Abu Dhabi
Media

********************************************************************************
BFW     05/24     09:15    *XUMANII               SAYS HAS     ENTERED PARTNERING TALKS W/ ABU               DHABI     MEDIA
 BN     05/24     09:11    *XUMANII"               REPORTS     IT HAS ENTERED INTO PARTNERSHIP               TALKS     W/ ABU
********************************************************************************
 Xumanii"         Announces          that         it    has Entered    into     Partnership    Discussions      with     Abu
                                                             Dhabi    Media

PR Newswire

CARSON     CITY,       Nev.    ,   May      24, 2013
CARSON     CITY,       Nev.    ,
                           May 24, 2013 /PRNewswi re/ --                 Xumanii"      ("Xumanii      " or the
"company")                 XUII),
                     (OTCQB:          (OTC Pink:        XUII),    a company that has developed
proprietary      technology       capable   of broadcasting            live     events    in HD wirelessly
from multiple       cameras    at events       for an extremely            low production         cost announces
today    that  the company has taken             the initial       steps      to begin      partnerships         with
several     key media partners         to expand on the company's                 content      and global
reach.      Xumanii   and it's      consultant        partners     have begun initial             talks     with    Abu
Dhabi Media, a large         scale media conglomerate                that     has holdings        in several
major media and online            markets   including          Abu Dhabi Radio, Emarat FM Radio,
Magid magazine,       The National        newspaper,        Image Nation,         The United        Printing
Press as well       as being an investor            in VEVO which is a joint                venture      music
video website       operated      by Sony Music Entertainment,                  Universal      Music Group, and
Abu Dhabi Media with         EMI licensing          its   content      to the group without              taking     an
ownership         stake.

The company's       strategic   goal is to align     itself    with global  partners                            to
utilize    their    established    positions  within     the music and entertainment
industry     and incorporate     the company's online        and mobile live stream
technology       to expand on musicians'     global    outreach.
About     XUMANII

Xumanii"        is an all-inclusive          online     platform      that    provides     users   the
opportunity        to create      a "Live     Broadcast"        in true High Definition.              Xumanii's^"
new, patent        pending technology           integrates        proprietary       hardware     and software
wirelessly,        streaming      live    feeds from multiple             cameras in High Definition
Audio/Visual         with   capabilities        of up to 10 megabites             per seconds.        This
technology       integrated       Hardware      and Software         allows    for the highest        quality
"live     broadcast       without      the exorbitant          expenditure       of traditional       methods
currently       used in the marketplace              via the respective           Artist's      channel on
Xumanii.com.          The company's technology               can also be provided            to each Artist
allowing      them to broadcast           any event      in which they feel that they would like
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Safe     Harbor       Statement

certain     statements         in this     news release may contain                forward-looking
information        within      the meaning of Rule 175 under the securities                          Act of 1933
and Rule 3b-6 under the Securities                      Exchange Act of 1934, and are subject                     to
the safe harbor           created       by those     rules.     All    statements,       other    than statements
of fact,      included       in this      release,      including,        without     limitation,       statements
regarding       potential        future    plans and objectives              of the company, are
forward-looking           statements       that    involve      risks     and uncertainties.          There can be
no assurance that such statements                     will     prove to be accurate            and actual      results
and future        events     could differ        materially         from those anticipated            in such
statements.        The company cautions              that    these     forward-looking         statements      are
further     qualified        by other factors.            The company undertakes              no obligation       to
                                                                      Page 1




                                                                                                                                    A0835
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                                                        5-24-13
publicly      update     or   revise    any statements    in this        release,   whether   as a result
of new information,            future    events   or otherwise.
xuII  Investor   Relations
Maplehurst
Tel:  917.838.3991

SOURCE Xumani      i   (TM)

Website:    http://www.xumanii           . com
-0-   May/24/2013    13:11 GMT


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XUII                                                     http://newsletter.hotstocked.com/newsletters/...                                                                                                        3of4




                                                                  Today's pick is: XUII
                  Hi Everyone,

                  XU1I may have looked like it was under attack yesterday but we need our loyal subscribers to
                  listen now more than ever...
                                                                           x(T_,_wtle
                                                                              med: taged temadem iiilmmést           prede baseasbened      iknermesischw=e         senagly     ages   seu   a ccedmet   a



                  It's no secret that the market makers have been working hard push down XUll over the last                                                                                            24
                  hours. We've seen the stock pullback, but it's still trading well above from where we alerted.

                  While        we're all too familiar                           with these market maker "tricks" following                                                       our alerts.
                  sye want             our    subscribers                  to   know that we have some tricks  of our own!


                  XUIl is still the same great company that it was when our team discovered it. They have an
                  amazing business model, a highly praised patent pending platform, and HUGE projects in the
                  works. In fact, we bet you that you didn't know...

                  -Xumanii   is currently    negotiating with artists Kanye West, Lil Wayne, Rick Ross,                                                                                                      2
                  Chainr.and records labels such as Universal Records, Def Jam records, Epic
                  records, Columbia      records, RCA records, and many more.

                  -Xumanii started during its testing phase with events and concert with artists such as Edward
                  Maya,Akcent, Lil Twist, Drake after party, Elephant Man, Serani and LMFAO.

                  -XUII has acquired the master license to a cutting-edge                                                    IP portfolio that will significantly
                  enhance the Company's current platform technology.

                  Kanye West? While the guy is a superstar the small fact he's in the news daily because of Kim
                  Kardashian is gold!

                  There is too much to this great company to not keep it on your radar for the long haul!

                  We are asking our loval subscribers     to TRUST US and do not panic. We are
                  sticking with  XUII for the davs and weeks to come because we are positive   it'e
                  what's best for all of our subscriberst

                  Happy Trading!




                  The PennyStockHeroes                             Team




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XUII                                                             http://newsletter.hotstocked.com/newsletters/...                                   4 of 4


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                Case 1:15-cv-00894-WHP-JLC Document 75-26 Filed 03/28/15 Page 17 of 22
XUll is Setting Up to be the NeXt 10-Bagger   S...     http:Hnewsletter.hotstocked.corn/newsletters/...                                                                3 of4




                                                      Our New Pick is XUII
                                    Hi Everyone,

                                   XUR experienced a roller coaster day, but the liquidity was so high that it offered huge
                                   opportunities to buy low.The intra-day  drop that we saw today presented a great opportunity
                                   for bargain hunters to buy shares in the low 30s. Those who did so will soon be tremendously
                                   rewarded.

                                   Short have been piling up on XUH and their attempt to crush it below        the 30 cents did not
                                   work out and thanks to that our members will soon be the benefactors         of hundreds of percent
                                   in gains. Those of us who watched LOTE know very well that it soared       from about £1 to over
                                   $18 as of today fand counNnot It was a huge short-squeeze rally that         sent the stock berserk.



                                      XUH could soon repeat a move ilke LOTE.Mark our words, we believe XUH could                             i
                                              easliy go up tenfold and soar past $3 on a short squeeze alone.

                                   But there's more...

                                    Here are fundamental       reasons   why we think    XUH   could skyrocket    in the   near   term:

                                   1) XUH has a platform that broadcasts live events in HD with a new, patent pending,
                                   technology that combines hardware and software wirelessly from multiple cameras at events
                                   for an extremely low production cost, The live broadcast industry is estimated to be worth
                                   over $20B. USD and Xumanli is right in the middle of it. Details on their platform can be
                                   found here: www.xumanil.com

                                   2) XUR's is partnering up with the major record labels and artists in the music industry. This
                                   year they are broadcasting live events and music concerts from a variety of major artists,
                                   establishing Xumanil as the best live broadcast platform on the market.

                                   3) Xumanli is currently negotiating and have been working with artists like Kanye West, Lil
                                   Wayne, Rick Ross, 2 Chain2, Drake, LMFAO. They are also negotiating with records labels
                                   such as Universal Records, Def Jam records, Epic records, Columbia records, RCA
                                   records, and many more. Those are huge namesin the music industry that could spell into
                                   mind-boggling   revenues for XUII.

                                   4) XUR is not just a company with a business plan and a dream. They have already launched
                                   high profile broadcasts, and seem to have every intention of launching even bigger events in
                                   the very near future.They are working on some of the most cutting edge high profile events as
                                   speak, and the next few weeks will be stunningt

                                   Just this past New Year's Eve XUII launched a live concert on their site for singer/song writer
                                   Trey Songz that was viewed across the globe. Here'sa quick teaser from Trey Songz himself
                                   that helped make this a major success:

                                   http://www.youtube.conVwatch?v=rGmCMcgYTsw

                                   5) The live music, events and sports venue promotions Industry in US has been a paragon of             .


                                   growth in recent years with the vast majority of industry segments, sports, arts, and music all
                                   growing at comparable rates.

                                   We expect the market to pick up on XUII in the coming weeks making these prices a true
                                   bargain. In our opinion, shares in this company will soon trade at a multiple of it given all its
                                   recent announcements and growth potential.

                                   If you didn't buy XUH yet as Rocks of smart Investors such as yourself have, now is the time.
                                   Otherwise same time, next week you will be upset wishing you had.This is our gilt to you
                                   before the beginning of the summer!

                                  Make sure to call   your family, friends, colleagues, acquaintances   and let them know about
                                  XUH.  Now is the    time.



                                     We will be holding    daHy updates until XUII sees $3 and of that we are extremely                   i
                                                                 confident that it will happent




                                  Your AwesomePennyStocks          Editor.




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XUll is Setting Up to be the Next 10-Bagger                       S...           http://newsletter.hotstocked.corn/newsletters/...                                                                                                          4 of4


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 Xumanii Could Mint Thousands ofNew            Milli...    http://newsletter.hotstocked.com/newsletters/...                                            3 of4



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                                                    Our New Pick is XUII
                                Hi Everyone,

                               As you know earlier today we issued our big announcement of the month. We picked XUII               as
                               the new company we will be featuring for the coming weeks.

                               It has already nearly doubled today and looks like it will be continuing a strong run       up.
                               Our last pick tripled within 6 weeks' time. We think.XilILConkLeasiluoJto.12     before the
                               end of next week. There was a very deep short position built in the 30 cent range which will
                               help propel XUII to massive gains.

                               That being said the company also has a lot going on as it operates     in the hot tech Industry;
                               Xumanil (XUII)   is taking over the entertainment industry. Their first initiative is partnering
                               with the major players in the music industry by providing the best solution on the market to
                               smaller event producers worldwide. Xumanil is transforming and revolutionizing        the live
                               broadcast experience with its patent pending technology, online platform and solution of
                               hardware and software.


                               Celebrities  are deeply involved in the company and as you can imagine that is always a recipe
                                for success. Youtube was sold to geeqle for almost 2 billien dollars a few years ago. It is now
                               the most successful video website in the world.

                               Instagram was sold to Facebook for a billion dollars recently, and Waze is apparently         in
                               discussions with Facebook to be bought out for a billion dollars as well.

                                Netflix shares are close to an all-time   high, and the markets in   general   are in the best shape
                               they have ever been.

                               We think that XUII could get noticed very quickly by the big players such as Google and
                               Facebook. They are in deep need of adding a new type of platform that can stream exclusíve
                               content to web users, and Xumanli addresses that need perfectly.

                               We will be building important  coverage on XUII over the next few weeks so stay tuned for
                               more information, and if you want to buv XUII now may be the time. You should have
                               bought it this morning, but as they say "better later than never".

                               Everyone will be fighting    to buy shares of XUII starting tomorrow, and if you can get them



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Xumanii Could Mint Thousands ofNew                         Milli...                http://newsletter.hotstocked.conVnewsletters/...                                                                                                                   4 of4



                                under 50 cents there                              could          be hundreds                     of percent              of gains up for grabs.
                                Your          AwesomePennystocks                                      Editor.


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3. Lee                                                                                                                                                                                                                                 5/20/2013 11:19 AM



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XOII.PK,Historical
              CasePrices XUMANII INTERNATION
                   1:15-cv-00894-WHP-JLC     Stock 75-26
                                         Document  - Yahoo! Finance
                                                           Filed 03/28/15 Page 21 of 22                                                                                                                                       Page 1 of 3


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     Enter symbol                Look       Up                                                                                              Fri, Dec 5, 2014, 8:35AM EST            -   U.S.    Markets open in 55 mins.   Report an issue

 Dow        0 ^-"'    "              "      ''"'.
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 XUMANil INTERNATION (XUll.PK)                                      -   Other OTC           1ArWatchlist

  0.00               Oct 30, 2:14PM EDT
  Pre-Market         : NaN


 Historical           PriceS                                                                                                                                Get Historical     Prices    for:                         GO



 Set Date Range
                                                                                                     @ Daily
     start Date: Jan             V      2             2013          Eg. Jan 1, 2010                  0     Weekly

       End Date: Dec V                  31            2013                                           O     Monthly
                                                                                                     O     Dividends   Only

                                                                                            Get Prices


                                                                                                                                            First | Previous | Next | Last

 i Prices

                          Date                      Open                    High                    Low                Close              Volume                   Adj Close*
            Dec 31, 2013                            0.03                        0.03               0.03                 0.03           2,548,900                             0.03

            Dec 30, 2013                            0.04                        0.04               0.03                 0.03           8,380,300                             0.03

            Dec 27, 2013                            0.05                        0.05               0.03                 0.04           17,018,500                            0.04

            Dec 26, 2013                            0.05                        0.05               0.05                 0 05           5,775,100                             0.05

            Dec 24, 2013                            0.05                        0.05               0.05                 0 05            1,173,100                            0.05

            Dec 23, 2013                            0.05                        0.05               0.05                 0 05           2,669,800                             0.05

            Dec 20, 2013                            0.05                        0.05               0.05                 0 05           2,072,500                             0.05

            Dec 19, 2013                            0.04                        0.05               0.04                 0 05            1,212,400                            0.05

            Dec 18, 2013                            0.04                        0.05               0.04                 0 05           2,768,800                             0.05

            Dec 17, 2013                            0.04                        0.06               0.04                 0 04            3,524,300                            0.04

            Dec 16, 2013                            0.06                        0.07               0.04                 0 05            9,251,800                            0.05

            Dec 13, 2013                            0.05                        0.07               0.04                 0 06           19,423,100                            0.06

            Dec 12, 2013                            0.04                        0.05               0.04                 0 05           10,706,200                            0.05
            Dec 11, 2013                            0.03                        0.04               0.03                 0 03            7,211,000                            0.03

            Dec 10, 2013                            0.03                        0.03                0.02                0 03            2,917,800                            0.03

             Dec 9, 2013                            0.02                        0.03                0.02                0 03            5,713,300                            0.03

             Dec 6, 2013                            0.02                        0.02                0.02                0 02              396,000                            0.02

             Dec 5, 2013                            0.02                        0.02                0.02                0 02            1,000,900                            0.02

             Dec 4, 2013                            0.01                        0.02                0.01                0 02              930,900                            0.02

             Dec 3, 2013                            0.02                        0.02                0.01                0 02            1,960,700                            0.02

             Dec 2, 2013                            0.02                        0.02                0.01                0 02            4,129,200                            0.02

            Nov 29, 2013                            0.02                        0.02                0.02                0 02              268,600                            0.02

            Nov 27, 2013                            0.02                        0.02                0.01                0 02            1,432,400                            0.02
            Nov 26, 2013                            0.02                        0.02                0.01                0 02            4,573,200                            0.02

            Nov 25, 2013                            0.02                        0.03                0.02                0 02              997,300                            0.02




http://finance.yahoo.com/q/hp?s=XUII.PK&a=00&b=2&c=2013&d=11&e=31&f=2013&g=d                                                                                                                                                   12/5/2014
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XUII.PIÇHistorical
              CasePrices | XUMANII INTERNATION
                   1:15-cv-00894-WHP-JLC        Stock 75-26
                                            Document  - YahOo! Finance
                                                             Filed 03/28/15 Page 22 of 22                                          Page 2 of 3


       Nov 22, 2013         0.02        0.02                   0.02                  0.02     501,900                     0.02
       Nov 21, 2013         0.02        0.03                   0.02                  0.02     940,500                     0.02

       Nov 20, 2013         0.03        0.03                   0.02                  0.03     376,400                     0.03

       Nov 19, 2013         0.03        0.03                   0.02                  0.03     526,900                     0.03

       Nov 18, 2013         0.02        0.03                   0.02                  0.03     313,100                     0.03

       Nov 15, 2013         0.02        0.03                   0.02                  0.02   1,554,700                     0.02

       Nov14,   2013        0.03        0.03                   0.02                  0.02     949,100                     0.02

       Nov 13, 2013         0.03        0.03                   0.02                  0.03     572,900                     0.03

       Nov 12, 2013         0.03        0.03                   0.03                  0.03     278,300                     0.03

       Nov 11, 2013         0.03        0.03                   0.03                  0.03     754,600                     0.03

        Nov 8, 2013         0.03        0.03                   0.03                  0.03     520,700                     0.03

        Nov 7, 2013         0.03        0.03                  0.03                   0.03     298,900                     0.03

        Nov6, 2013          0.03        0.03                  0.03                   0.03   1,296,700                     0.03

        Nov5, 2013          0.03        0.03                  0.03                   0.03     743,900                     0.03

        Nov 4, 2013         0.03        0.03                  0.03                   0.03   2,049,600                     0.03

        Nov 1, 2013         0.03        0.03                  0.03                   0.03     400,300                     0.03

       Oct 31, 2013         0.03        0.03                  0.03                   0.03   1,023,600                     0.03

       Oct 30, 2013         0.03        0.03                  0.03                   0.03     632,000                     0.03

       Oct 29, 2013         0.03        0.03                  0.03                   0.03   4,324,900                     0.03

       Oct 28, 2013         0.03        0.03                  0.03                   0.03     455,600                     0.03

       Oct 25, 2013         0.03        0.03                  0.03                   0.03     401,600                     0.03

       Oct 24, 2013         0.03        0.03                  0.03                   0.03   2,355,700                     0.03

       Oct 23, 2013         0.03        0.03                  0.03                   0.03   1,155,800                     0.03

       Oct 22, 2013         0.03        0.03                  0.03                   0.03     861,900                     0.03

       Oct 21, 2013         0.03        0.03                  0.03                   0.03   1,442,500                     0.03

       Oct 18, 2013         0.03        0.03                  0.03                   0.03   3,672,300                     0.03

       Oct 17, 2013         0.03        0.03                  0.03                   0.03     275,400                     0.03

       Oct 16, 2013         0.03        0.03                  0.03                   0.03     494,400                     0.03

       Oct 15, 2013         0.03        0.03                  0.03                   0.03     794,100                     0.03

       Oct 14, 2013         0.03        0.03                  0.03                   0.03     387,800                     0.03

       Oct 11, 2013         0.03        0.03                  0.03                   0.03     483,300                     0.03

       Oct 10, 2013         0.03        0.03                  0.03                   0.03     787,600                     0.03

        Oct 9, 2013         0.03        0.03                  0.03                   0.03   1,068,200                     0.03

        Oct 8, 2013         0.03        0.03                  0.03                   0.03     332,000                     0.03

        Oct 7, 2013         0.03        0.03                  0.03                   0.03     456,100                     0.03

        Oct 4, 2013         0.03        0.03                  0.03                   0.03     913,200                     0.03

        Oct 3, 2013         0.03        0.03                  0.03                   0.03   2,066,400                     0.03

        Oct 2, 2013         0.04        0.04                  0.03                   0.03   4,012,700                     0.03

        Oct 1, 2013         0.02       0.04                   0.02                   0.04   6,478,800                     0.04

      Sep 30, 2013          0.02       0.03                   0.02                   0.02   1,376,900                     0.02

      Sep 27, 2013          0.02       0.03                   0.02                   0.02   1,387,300                     0.02

                                   * Close price   adjusted   for dividends   and splits.

                                                                                                First | Previous   i Next | Last

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 Currency in USD.




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